CB_S€ QleQA@PQZUMF_:LNj_(Q M/¢UTRQ\REY 'ro PAv couRT M’PO\NTE\) CoUNSEL

 

W\ 11 4 f\l'\ n
l.clR.mlsT.mtv.coot=. 2.PER50N nEPREsENTEn `N"'C' 'L J'UO '_"90 U

 

/MERNMQ€ 1 Of 2 Page|D

 

 

 

 

 

 

 

 

 

 

 

 

Memphls TN 38103
E Becnuse the thaw-named person represented has tettif\e¢l under until nr has
otherwite satiti'ied this court that de or sit ]it finlncialiy unnble to employ counsel end
(Z) does not wt__iltow_eaiv counsel and 'b '- - l - interettt ofju:tiee to require, the
-ney w l e nnme lppea tell to represent this person in this cue,

   
          
       
 
  

'i`eiephone Number: (901) 543'0700
l4. N AME AND MAILING ADDRESS OF LAW FIRM (nnly provide per instructions]

 

      

lTleer or By Ot'der oftlte Court

 

Signntnre of l'retiding .iudlcial
fl 617 ‘l ;'7 ilfl‘i
Date of Order Nnne l’ro 'i'une Dgie

llepayment or partial repayment ordered from the person represented for this service lt
time of appointment. Cl YE

 

 

 

 

 

 

 

 

 

 

 

 

 

TNW Wright, Nicole '45
3. MAG. DKTJDEF. NUMBER 4. DlST. DKT.mEF. NUMBER 5. APPEALS DKTJ'DEF. NUMBER 6. OTHER DKT. NUMBER
2202-020417-003 4€”2,
'l'. lN CASE."MATTER GF {Clse Name) 8. PAYMENT CATEGORY 9. TYPE `PERSON REPRESENTED lil. %EH'§E.RE$FON TYPE 633 m
U.S. v. Wright Feiony Adult Defendant Supervised Re‘leasc “r»' ‘
`_ t
ll. OFFENSE(S] CH ARGED (Clte U.S. Cttde, Tille & Sect"tl)l‘l) li' more than one ol!'ense, list (up to l'lve) major ol'l'mlet charged, according to severity ol' uiTense. /' 6/,;/ "
l) 18 1703.1: -- THEFT OR RECEIPT OF STOLEN MAlL MATTER (_,"\.4- <?J `-\
¢zg,§f 69 C.'
ll ATTORNEY‘S NAME (SI-'irst Nnme, M.l., Last Nnme, including any suti'it] 13. COURT ORDER j :"(/' L?
AND MAIL|NG "\DDRE S 12 0 Appolnting Counsel m C Co-Couosei g g t n `,`/. .‘
JO]-INSON L DANIEL [] F Suhs Fnr Federal Defender ll R Su'ba For Ret\ined Attorney /;;, J‘ ’/ /\ 4
254 Court S’t \:l i’ Subs Fol' P\nel Attorney § Y Standhy Cuuntei id ]O/‘$>;~i}>.!
Suite 301 Prior Attorney's Name: ¢fé~ , "',`]e’,
Appointment Date: _____________- 1913 C;Z':`)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

lF OTHER THAN CASE COMPLET|GN

mom _____________ 10 _____________

 

 

cAtEGoRtEs (An¢ch itemization or serving with dunn gan é:h(t)é§§té HSHIT§§§%H dl:t§\§§§:§;i)" A’§§WQWNAL
ls. a. Arraignment and!or Plea

b. Baii and Detention Hearings

c. Motion Hearlngs
11 d. mut
C e. Sentencing l-learings
3 [. Revocation Hearlngs
§ g. Appeals Court

h. Other {Specii'y on additional shoets)

(Rute per hour =‘ $ ] TOTALS:

lo. a. lnterviews and Conferences
fig b. Obtainlng and reviewing records
o e. Legal research and brief writing
:: d. 'l'rnvel time
3 e. lovestigativ e and Other work cspecir-y on additional town
{ [Rnte per hour =- $ ) TOTALS:
t'i. 'l`ravei Expenses (lodg'mg, parkingl meals, mileage, ete.)
iS. Other Exp£nses (other than expert, transcriptt, etc.)
19. CERTIFICA'HON OF A'I'I`ORNEYIPAYEE FOR THE PER!OD 0 F SERVICE 20. APPOiNTMENT '[ERM|NAT!ON DATE 21. CASE DlSl'OSl'I`lON

 

21. C LAIM STATUS [] Finnl Pnytnent g interim ?nyrnent Number ______ [:] Supplementll l'ayment
l-in\re you previoutiy applied to the court i'¢r compensation and.lnr rem|mbursement for this clte'.‘ Cl Y`ES 0 lfyet. were you paid‘.’ '[l YES \:\ NO
other than from the coun. have you. or to your knowledge has anyone eite, received payment (compemetion or anything or value) i'rntn any other source in connection with thit

represent\tion? \:l YES Cl NO l|'yet, give details on additional sheets.

l swear nr ali'lrm the truth or correctness of the above stotements.

  
   
 

S' nature oi' Attorney:

   

 

26. OTHER EXPENSES

     

   
 

  

m
13. lN COURT COMP. 24. OUT OF COU R'l` COMP. 25. TRAVEL EXPENSES

   

 

 
 

27. TOTAL AMT. APPR! CERT

 

 

28. SIGNATURE OF THE PRES`|DING .lUDlCIAL OFFICE'R DATE

l$a. JUDGEIMAG. .lUDGE CODE

 

19. lN C()URT COMP. 30. OUT OF COURT COMP. 31, TRAVEL E.XPENSES 31. OTHE.R EXPENSES ]3. TO’|`AL AMT. APPROVED

 

 

 

 

34. SlGNATURE OF CHlEF JUDGE, COURT OF APP EALS (O`R DELEGATE} P\ymenc
opproved in etcess ofthe stltutury threshold amount.

DATE 341 JUDGE CODE

 

 

 

 

 

 

 

/ )
Thls document entered on the docket she in c m ' c 66-
with Fiuie 55 and.for 32(b) FFiCrP on

 

Notice of Distribution

This notice confirms a copy ofthc document docketed as number 108 in
case 2:02-CR-204]7 Was distributed by faX, mail, or direct printing on
J unc 24, 2005 to the parties listcd.

 

 

L. Danicl Johnson

JOHNSON COCKE & BRANDON
254 Court Ave.

Ste. 300

Mcmphis7 TN 38103

Tracy Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Mcmphis7 TN 38103

Honorablc Samuel Mays
US DISTRICT COURT

